         Case 16-40061-rfn13                        Doc             Filed 10/06/16 Entered 10/06/16 11:42:10                           Desc Main
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Fill in this information to identify the case:

Debtor 1                DIANNE DORMAN

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the Northern District of Texas


Case Number             16-40061-rfn13




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                 12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.

File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

 Name of creditor:          OCERN LOAN SERVICING, LLC AS SERVICER FOR                              Court Claim No. (if known)    5-1
                            DEUTSCHE BANK NATIONAL TRUST COMPANY, AS
                            TRUSTEE FOR SECURITIZED ASSET BACKED
                            RECEIVABLES LLC TRUST 2007-NC1, MORTGAGE
                            PASS-THROUGH CERTIFICATES, SERIES 2007-NC1

Last 4 digits of any number you use to
identify the debtor’s account:         XXXXX8600

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?
X No.
   Yes. Date of the last notice:


 Part 1:               Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in this case or ruled on by the bankruptcy court.

           Description                                              Dates incurred                                              Amount
    1. Late Charges                                                                                                      (1) $                      0.00
    2. Non-sufficient funds (NSF) fees                                                                                   (2) $                      0.00
    3. Attorney fees                                                Review of Plan and Notice of Appearance              (3) $                 400.00
                                                                    4/26/2016
    4. Filing fees and court costs                                                                                       (4) $                      0.00
    5. Bankruptcy/Proof of Claim fees                                                                                    (5) $                      0.00
    6. Appraisal/Broker's price opinion fees                                                                             (6) $                      0.00
    7. Property inspection fees                                                                                          (7) $                      0.00
    8. Tax advances (non-escrow)                                                                                         (8) $                      0.00
    9. Insurance advances (non-escrow)                                                                                   (9) $                      0.00
  10. Property preservation expenses. Specify:                                                                          (10) $                      0.00
  11. Other. Specify:                                               Objection to Confirmation 5/18/2016                 (11) $                 500.00
  12. Other. Specify:                                                                                                   (12) $                      0.00
  13. Other. Specify:                                                                                                   (13) $                      0.00
  14. Other. Specify:                                                                                                   (14) $                      0.00

The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.




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Debtor 1 DIANNE DORMAN                                                           Case Number (if known) 16-40061-rfn13
         First Name   Middle Name   Last Name




Part 2:       Sign Here


     The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
     telephone number.

     Check the appropriate box.



                       I am the creditor.

                X     I am the creditor's authorized agent.


     I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
     knowledge, information, and reasonable belief.



                X     /s/ Stephen Wu                                                  Date    October 6, 2016
                      Signature




Print:                Stephen Wu                                                      Title   Attorney

Company               Mackie Wolf Zientz & Mann, P.C.

                      Parkway Office Center, Suite 900
                      14160 North Dallas Parkway
Address               Dallas, TX 75254

Contact phone         (214) 635-2650                                                  Email swu@mwzmlaw.com




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                                      CERTIFICATE OF SERVICE

      I, Stephen Wu, do hereby certify that a copy of the foregoing Notice of Postpetition
Mortgage Fees, Expenses and Charges as required by Rule 3002.1 has been served 5th of
October, 2016 upon:


Via Pre-Paid U.S. Mail:
DIANNE DORMAN
2140 E SOUTHLAKE BLVD
SOUTHLAKE, TX 76092
Debtor(s)

Via ECF:
WILLIAM F. RITTER, IV
CAMPBELL CENTER I-NORTH TOWER
8350 N. CENTRAL EXPWY., SUITE 1310
DALLAS, TX 75206-1639
Attorney for Debtor(s)

Via ECF:
TIM TRUMAN
Chapter 13 Trustee
6851 N.E. LOOP 820, SUITE 300
N RICHLAND HILLS, TX 76180

Via ECF:
US Trustee


                                                       /s/ Stephen Wu
                                                       ________________________________
                                                       Stephen Wu
                                                       Movant's Counsel




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